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                           UNITED STATES DISTRICT COURT FOR
                         THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 LULAC, et al.,

               Plaintiffs,

 v.
                                                     Case No.: 3:21-CV-00259-DCG-JES-JVB
 GREG ABBOTT, in his official capacity as                          [Lead Case]
 Governor of Texas, et al.,

               Defendants.


                   PLAINTIFFS’ THIRD AMENDED JOINT NOTICE OF
                   FIRST WEEK AND SECOND WEEK WITNESS LIST

       Plaintiffs hereby jointly file the following second amended list of witnesses expected to be

called during the first week of trial pursuant to the Court’s Pretrial Scheduling Order (Dkt. 880).

The witness list specifies the sequence in which these witnesses will testify on a daily basis. The

parties reserve the right to amend or supplement this list based on the progression of trial and any

rulings by the Court.

                    May 21             Salvador Espino
                                       Candace Valenzuela
                                       Domingo Garcia
                                       Cesar Espinosa
                                       Angelica Razo
                                       Diana Martinez Alexander

                    May 22             Rogelio Saenz
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                                         Joey Cardenas
                                         Devan Allen
                                         Jeff Travillion

                      May 23             Garry Jones
                                         Congresswoman Jasmine Crockett
                                         Leo Pacheco
                                         Ina Minjarez
                                         Kristian Carranza

                      May 24             Dr. Andres Tijerina



         Plaintiffs further jointly file the following list of witnesses expected to be called during the

second week of trial pursuant to the Court’s Pretrial Scheduling Order (Dkt. 880). The witness list

specifies the sequence in which these witnesses will testify on a daily basis. The parties reserve

the right to amend or supplement this list based on the progression of trial and any rulings by the

Court.

                      May 27          Congressman Al Green
                                      Bishop James Dixon
                                      Dr. Bernard Fraga

                      May 28          Dr. J. Morgan Kousser
                                      Dr. Stephen Ansolabehere
                                      Dr. Allan Lichtman
                                      Joann Acevedo
                      May 29          Dr. Allan Lichtman, continued (if needed)
                                      Mayor Michael Evans




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                              Jeannette Martinez
                              Maida Guillen
                              Linda Lewis

                     May 30   Dr. Matt Barreto
                              Dr. Sharon Middlebrooks
                              Monica Munoz Martinez
                     May 31   Agustin Loredo
                              Dr. Moon Duchin

Date: May 23, 2025                  Respectfully submitted,

                                    For LULAC Plaintiffs:

                                    /s/ Nina Perales
                                    Nina Perales
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                                    /s/ George (Tex) Quesada
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                                             For Plaintiff-Intervenors:

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                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she has electronically filed a true and

correct copy of the above and foregoing via the Court’s electronic filing system on the 23rd day

of May 2025.

                                                    /s/ Chad W. Dunn
                                                    Chad W. Dunn




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